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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

 JILL BABCOCK, JAIME JUNIOR and
 ASHLEY JACOBSON, on behalf of                      No. 2:22-cv-12951
 themselves and all others similarly situated,
                                                    HON. MARK A. GOLDSMITH
        Plaintiffs,
 v                                                  MAG. JONATHAN J.C. GREY

 STATE OF MICHIGAN, COUNTY OF                          DEFENDANT STATE OF
 WAYNE, CITY OF DETROIT, WAYNE                        MICHIGAN’S CORRECTED
 COUNTY BUILDING AUTHORITY,                             MOTION TO DISMISS
 DETROIT BUILDING AUTHORITY,
 DETROIT-WAYNE JOINT BUILDING
 AUTHORITY and HINES, out of state
 corporation authorized to do business in
 Michigan,

      Defendants.
 ___________________________________


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     DEFENDANT STATE OF MICHIGAN’S CORRECTED MOTION TO
                           DISMISS




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 Dated: March 14, 2023
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      Defendant State of Michigan (State Defendant), through counsel and under

Fed. R. Civ. P. 12(b)(1) and 12(b)(6), moves this Court to dismiss Plaintiffs’

complaint. State Defendant states in support:

      1.     The undersigned counsel certifies that counsel communicated in

writing with opposing counsel, explaining the nature of the relief to be sought by

way of this motion and seeking concurrence in the relief, and three business days

have lapsed without opposing counsel expressly agreeing to the relief, orally or in

writing.

      2.     On December 6, 2022, Plaintiffs filed this complaint alleging the State

of Michigan violated various federal and state laws relative to the accessibility of

20 buildings in at least six different counties.

      3.     Plaintiffs fail to plead sufficient claims against the State of Michigan

where their complaint does not meet the minimum pleading requirements of Fed.

R. Civ. P. 8(a)(2).

      4.     Further, Plaintiffs state law claims are barred by Eleventh Amendment

immunity.

      5.     Plaintiffs also fail to state a claim for the imposition of punitive

damages against the State of Michigan.

      6.     For these reasons and the reasons stated more fully in the

accompanying brief in support, Defendant State of Michigan respectfully requests
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that this Honorable Court enter an order dismissing Plaintiffs’ complaint pursuant

to Fed. R. Civ. P. 12(b)(1) and 12(b)(6), in addition to any other relief this Court

deems just and equitable.



                                              Respectfully submitted,

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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

 JILL BABCOCK, JAIME JUNIOR and
 ASHLEY JACOBSON, on behalf of                      No. 2:22-cv-12951
 themselves and all others similarly situated,
                                                    HON. MARK A. GOLDSMITH
        Plaintiffs,
 v                                                  MAG. JONATHAN J.C. GREY

 STATE OF MICHIGAN, COUNTY OF                          BRIEF IN SUPPORT OF
 WAYNE, CITY OF DETROIT, WAYNE                         DEFENDANT STATE OF
 COUNTY BUILDING AUTHORITY,                           MICHIGAN’S CORRECTED
 DETROIT BUILDING AUTHORITY,                            MOTION TO DISMISS
 DETROIT-WAYNE JOINT BUILDING
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                                                                                   /

       BRIEF IN SUPPORT OF DEFENDANT STATE OF MICHIGAN’S
                  CORRECTED MOTION TO DISMISS




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 Dated: March 14, 2023
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                 CONCISE STATEMENT OF ISSUE PRESENTED

       1.       Are Plaintiffs’ federal and state claims subject to dismissal where
                Plaintiffs have failed to state plausible claims upon which relief may
                granted and certain claims are barred by immunity?

        CONTROLLING OR MOST APPROPRIATE AUTHORITIES
 Authorities:

 Angel v. Kentucky, 314 F.3d 262 (6th Cir. 2002)
 Ashcroft v. Iqbal, 556 U.S. 662 (2009)
 Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)
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                                  INTRODUCTION

       Plaintiffs Jill Babcock and Ashley Jacobson bring this purported class action

 against Defendant State of Michigan alleging the State owns, leases, and operates

 various buildings and facilities within the State that allegedly prevent or create

 difficulties in accessibility in violation of federal and state disability laws. The

 State of Michigan is a proponent and supporter of the disability community and

 works to ensure that the buildings for which it is responsible meet the requirements

 of federal and state law relative to accessibility, including reasonable modifications

 to existing buildings. However, Plaintiffs fail to allege or identify any facts

 demonstrating the State’s responsibility for all the buildings at issue or that it

 denied Plaintiffs access to or receipt of services, programs, or activities.

 STATEMENT OF FACTS
       Jill Babcock (Babcock) and Ashley Jacobson (Jacobson) (collectively

 Plaintiffs), bring this action on behalf of themselves and as a purported class

 action. Plaintiffs identify 20 buildings in at least six different counties with

 various alleged disability violations that are allegedly “owned, leased, and operated

 jointly and severally by [the State and local government Defendants] for the

 Defendant governments’ executive, legislative, judicial and administrative review

 functions.” (ECF No. 1, Compl., ¶1, PageID.1-2.) Plaintiffs allege these facility




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 issues interfere with their barrier-free access, ability to use restrooms, and ability to

 work or to work effectively. (Id., ¶¶ 27, 29-30, PageID.8-9.)

       While Plaintiffs broadly identify entitlement and need to participate in

 several governmental functions, such as participating in judicial proceedings and

 paying taxes, they fail to identify when, which buildings, and what specific

 services, programs, and activities of the State they were unable to access. (Id.,

 ¶ 56, PageID.15-16.) Further, while Plaintiffs allege design flaws to facilities,

 sidewalks, etc., they fail to allege sufficient facts to demonstrate these issues are a

 result of the State’s conduct or that the purported defects prevented Plaintiffs from

 availing themselves of the State’s services, programs, and activities.

       Ashley Jacobson
       Plaintiffs allege Jacobson resides in Washtenaw County and is a disability

 rights attorney and vocational rehabilitation counselor. (ECF No.1, Compl. ¶ 19,

 PageID.6; ¶ 25, PageID.7.) Plaintiff Jacobson alleges she uses various medical

 devices due to “impairments of her bladder, spine, joints, and immune system,”

 including suffering from incontinence and other conditions affecting the urinary,

 bowel, and gastro-intestinal systems. (Id., ¶ 20, PageID.6; ¶ 58, PageID.17-18.)

       Plaintiffs allege Jacobson “must have immediate, in-person physical access.

 . . to all services, programs, and activities” including, attending and conducting

 depositions, discovery, and meetings; attending hearings, trials, and appeals;



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 meeting with clients and witnesses confined to the Juvenile Center or City/Sheriff

 “lock-ups”; and meeting and interacting with judges, their staff, attorneys, and

 parties. (Id., ¶ 57, PageID.16-17.) Jacobson alleges she has lost work, continuing

 business opportunities, and has had to turn down cases because she is unable to or

 has additional difficulties accessing Defendants’ buildings. (Id., ¶¶ 30, 61

 PageID.9, 20.) Plaintiff Jacobson generally alleges she “risks falling and is unable

 to use necessary equipment because of lack of physical space and mobility bars in

 stalls. . . .[and] has had to turn down cases in these buildings,” and that generally

 “she must spend time considering and compensating for building inaccessibility in

 ways her nondisabled peers do not.” (Id., ¶ 61, PageID.20.)

       Jill Babcock
       Plaintiffs allege Babcock resides in Wayne County and is an attorney

 licensed in Michigan and employed with the City of Detroit. (Id., ¶¶ 15, 23-24,

 PageID.5, 7.) Plaintiff Babcock asserts that she “has several physical disabilities

 and impairments. . . . [that] require her to use a wheelchair, scooter, or other

 mobility device,” and that “[t]he lack of assess described in [their] complaint

 interferes with her ability to engage in [practicing law, employment and volunteer

 community and disability rights advocacy] effectively.” (Id., ¶¶ 16, 24, PageID.5-

 7.) Like Plaintiff Jacobson, Babcock generally claims “the lack of access




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 described in [their] complaint interferes with her ability to engage in these

 activities effectively.” (Id., ¶ 24, PageID.7.)

                             STANDARD OF REVIEW
       Dismissal under Rule 12(b)(1) for lack of subject matter jurisdiction is

 appropriate with respect to the claims set forth in Plaintiffs’ complaint that are

 barred by the State’s Eleventh Amendment immunity. When reviewing a motion

 to dismiss under Rule 12(b)(1) that attacks the factual basis of the Court’s

 jurisdiction, rather than the facial deficiency of the complaint, no presumptive

 truthfulness attaches to a plaintiff’s allegations, and disputed material facts will not

 preclude a court from evaluating the merits of jurisdictional claims. RMI Titanium

 Co. v. Westinghouse Elec. Corp., 78 F.3d 1125, 1134 (6th Cir. 1996).

       In addition to Eleventh Amendment immunity as to certain claims, all of

 Plaintiffs’ claims are subject to dismissal under Rule 12(b)(6) for failure to state a

 claim upon which relief can be granted. “To survive a motion to dismiss, a

 complaint must contain sufficient factual matter, accepted as true, to state a claim

 to relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

 (cleaned up). Courts are only to consider facts that are truly well pleaded: they are

 not to take as true “legal conclusions,” including when “couched as a factual

 allegation,” nor “mere conclusory statements” or “naked assertions devoid of

 further factual enhancement.” Id. at 678-79 (cleaned up).



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                                      ARGUMENT

  I.    Plaintiffs have failed to state plausible claims upon which relief may be
        granted against the State of Michigan.

        A complaint must contain a short and plain statement of the claim showing

 that the pleader is entitled to relief. Fed. R. Civ. P. 8(a)(2). Detailed factual

 allegations are not required, but the Rule does call for sufficient factual matter,

 accepted as true, to state a claim to relief that is plausible on its face. Bell Atl.

 Corp. v. Twombly, 550 U.S. 544, 555 (2007). The pleading must contain

 something more than a statement of facts that merely creates a suspicion of a

 legally cognizable right of action on the assumption that all the allegations in the

 complaint are true. Id. Here, Plaintiffs fail to satisfy these minimal standards.

        Plaintiffs’ complaint fails to clearly identify the State’s conduct that would

 subject it to liability under any of the claims in Plaintiffs’ complaint. Plaintiffs

 merely list a host of alleged facility issues and ascribe conduct generally to all

 Defendants. Counts I and II consist of one paragraph each simply listing various

 federal and state laws that were allegedly violated, while purporting the violations

 include but are not limited to these laws. (ECF No. 1, ¶¶ 115, 117, PageID.43.)

 These counts fail to provide any information, even when combined with the

 remainder of the complaint, to identify any plausible causes of action against the

 State. Nowhere do Plaintiffs include any particularized factual basis that is directly

 applicable to State Defendant. Thus, in the absence of any allegations stating a


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 viable cause of action or giving notice of the nature of the claims, Plaintiffs have

 failed to state a claim against the State and Plaintiffs’ complaint must be dismissed.

           A.     Plaintiffs fail to state a viable Americans with Disabilities Act
                  claim against the State.

       Plaintiffs purportedly allege a claim against the State under Title II of the

 Americans with Disabilities Act of 1990 (ADA), 42 U.S.C. §§ 12101, et seq. The

 State may be entitled to Eleventh Amendment immunity with respect to such a

 claim, see, e.g., Tennessee v. Lane, 541 U.S. 509 (2004), however, the Sixth

 Circuit has clarified that a court should first resolve whether a plaintiff has stated a

 viable Title II claim before addressing whether immunity will bar the claim. See

 Zibbell v. Michigan Dep’t. of Human Services, 313 F. App’x 843, 850 (6th Cir.

 2009) (citing United States v. Georgia, 546 U.S. 151, 159 (2006)). Here, because

 Plaintiffs’ complaint fails to plausibly allege a Title II ADA claim against the

 State, it is unnecessary for the State to address, in this brief, whether it would be

 entitled to immunity under the second and third prongs of the test articulated in

 United States v. Georgia, 546 U.S. at 159.

       Title II of the ADA provides that no qualified individual with a disability

 shall, because of that disability, “be denied the benefits of the services, programs,

 or activities of a public entity, or be subjected to discrimination by any such

 entity.” Mingus v. Butler, 591 F.3d 474, 481-82 (6th Cir. 2010) (citing 42 U.S.C.

 § 12132). In order to state a claim under Title II, Plaintiffs must show: (1) they are


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 qualified individuals with a disability; (2) the State is subject to the ADA; and (3)

 Plaintiffs were denied the opportunity to participate in or benefit from services,

 programs, or activities provided by the State. See Tucker v. Tennessee, 539 F.3d

 526, 532–33 (6th Cir. 2008), abrogated on other grounds by Anderson v. City of

 Blue Ash, 798 F.3d 338 (6th Cir. 2015).

       The State does not contest for purposes of this motion that Plaintiffs are

 qualified individuals with a disability or that the State is a covered entity under

 Title II. But Plaintiffs fail to allege sufficient facts demonstrating the State’s

 conduct resulted in the denial of the benefits of services, programs, or activities

 provided by the State. 42 U.S.C. § 12132.

       Plaintiffs’ complaint alleges that all the buildings listed within the complaint

 have architectural and facility barriers—e.g., lack of immediately accessible toilets,

 as well inaccessible or insufficient parking—that prevent Plaintiffs access to

 services and programs. (ECF No. 1, ¶ 16, PageID.5-6; ¶ 3, PageID.2; ¶ 27,

 PageID.8; ¶ 62, PageID.20-21; ¶¶ 73-75, PageID.24-25; ¶ 80, PageID.26-28; ¶ 84,

 PageID.28-31; ¶ 90, PageID.32; ¶92, PageID.32; ¶¶ 92-104, PageID.33-40; ¶ 106,

 PageID.41.) But alleging building defects or design flaws does not, on its own,

 establish a violation of Title II, which requires access to services, programs, and

 activities versus structural issues alone.




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       Plaintiff Babcock filed a previous Title II ADA claim against the State of

 Michigan and the Michigan Strategic Fund related to facility design features for

 the Cadillac Place building in Detroit. Babcock v. State of Mich., et al., 812 F.3d

 531 (6th Cir. 2016) (Babcock I). In Babcock I, the Court held that Babcock failed

 to identify “any ‘services, programs, or activities’ of a public entity from which she

 was excluded or denied benefit.” Id.

       Plaintiffs’ current complaint suffers from the same deficiencies as the prior

 case. The allegations of denial of services are mere recitations of the services

 purportedly available at various buildings, such as voting and observing and

 participating in judicial branch services, and access to “basic and necessary

 government functions and services,” etc. (ECF No. 1, Compl. ¶ 6, 31, 32,

 PageID.4, 9-10.) But the act of cataloguing available services and alluding to a

 denial of services and injury within the instant complaint does not state a claim.

 Nor is this cataloguing of available services to which Plaintiffs allege they are

 entitled sufficient to overcome the fact that Plaintiffs are centering this right of

 action around facility accessibility which, standing alone, is not a cognizable claim

 under Title II. Babcock I, 812 F.3d at 536. Plaintiffs fail to provide any factual

 support identifying the State denied Title II services, programs, or activities or

 even what those denied services were or when they were denied. Thus, Plaintiffs




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 allege similar facility accessibility arguments advanced in Babcock I, while simply

 adding vague allegations of denial of access to the services within those buildings.

       Specifically problematic is Plaintiffs’ failure to identify (1) what services,

 programs, or activities they have been deprived; (2) when these alleged

 deprivations occurred, 1 (3) the building where these deprivations occurred; and

 (4) the State’s conduct that allegedly denied meaningful access. To the extent that

 Plaintiffs’ complaint asserts the State denied Plaintiffs access to courts and court-

 related services, programs, and activities, Plaintiffs fail to identify the State’s

 actual conduct, as well as where and when the State’s actual conduct denied

 Plaintiffs specific court or court-related services.

       Rather, Plaintiffs generally allege the State of Michigan is “specifically

 charged” with providing “fully accessible courts for all judicial proceedings.”

 (ECF No. 1, ¶ 47, PageID.12.) While the Court generally must take all factual

 allegations in a complaint as true when ruling on a motion to dismiss, it is not

 “bound to accept as true a legal conclusion couched as a factual allegation.” Iqbal,

 556 U.S. at 678. Plaintiffs cite to authority that does not stand for the principle that




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   The failure to identify the specific incidents of alleged denial of services,
 programs, or benefits, especially when such incidents occurred, is significant since
 the applicable statute of limitations bars claims older than three years. See Mote v.
 City of Chelsea, 284 F. Supp.3d 863, 886 (E.D. Mich. 2018) (accepting that statute
 of limitations applicable to ADA claims is three years).

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 the State of Michigan owns, is responsible for, or controls every courthouse in

 Michigan or is the provider of services, programs, or activities in every court.

       Indeed, Plaintiffs point to Michigan constitutional provisions as a basis of

 support that the State is responsible for or controls each Michigan court building.

 (ECF No. 1, ¶ 47, PageID.12.) But the Michigan Constitution does not provide

 that the State is responsible for every court building and the services, programs, or

 activities provided by each court within the State. Section 1 provides authority for

 the judicial power of the courts; but again, not the responsibility for each facility.

 Mich. Const. 1963, Art. VI, § 1. Similarly, § 7 provides the Michigan Supreme

 Court’s authority relative to staffing, budget recommendations, and salaries; but,

 again, not the responsibility for control over each court facility. Id., § 7.

       Plaintiffs also loosely allege the State of Michigan is responsible for the

 facilities based on funding statutes. (ECF No. 1, ¶ 48, PageID.12-13.) Plaintiffs

 cite to several Michigan statutes in support, but these statutes do not provide that

 the funding is tied in any way to the ownership or control of the facilities.

 Notably, Mich. Comp. Laws § 600.9947 provides for the Michigan legislature to

 appropriate sufficient funds for trial court operational expenses—but this statute

 does not provide the State of Michigan has ownership or control of each trial court.

 Further, subparagraph (2)(b) explicitly excludes provision of funds for “facilities.”




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        Plaintiffs’ complaint contains similar legal conclusions that the State of

 Michigan has “complete control over the streets and highways, sidewalks and

 curbs, and improved areas adjacent to and leading to the buildings and facilities at

 issue” and that the State of Michigan “controls, owns, leases, operates, and funds

 or supervises . . . all the buildings and operations” at issue in the complaint. (ECF

 No. 1, ¶ 49, 70, PageID.13, 23.) But these conclusions lack factual support or

 authority. Thus, Plaintiffs have failed to sufficiently plead that the State is liable

 for all the buildings or surrounding areas they allege are deficient.

           B.     Plaintiffs fail to state a plausible Federal Rehabilitation Act
                  claim against the State.
        Plaintiffs purport to allege a claim under Section 504 of the Rehabilitation

 Act of 1973. That section provides that “[n]o otherwise qualified individual with a

 disability in the United States . . . shall, solely by reason of her or his disability, be

 excluded from the participation in, be denied the benefits of, or be subjected to

 discrimination under any program or activity receiving Federal financial

 assistance[.]” 29 U.S.C. § 794(a).

        To state a claim under the Rehabilitation Act, a plaintiff must allege facts

 allowing for the reasonable inference that (1) plaintiff is disabled; (2) plaintiff is

 otherwise qualified for participation in the program; (3) plaintiff is being excluded

 from participation in, denied benefits of, or being subjected to discrimination under

 the program solely due to a disability; and (4) the relevant program or activity is


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 receiving federal financial assistance. Landefeld v. Marion Gen. Hosp. Inc., 994

 F.2d 1178, 1180-1181 (6th Cir. 1993).

       The plain language of the statute makes clear that the State of Michigan is

 not an appropriate Defendant. The Rehabilitation Act limits its application to

 programs or activities receiving federal assistance. 29 U.S.C. § 794(a). The

 definition of “programs or activities” identifies not the State as a whole, but rather

 its subordinate components such as agencies or departments. 29 U.S.C. §

 794(b)(1). Under this definition, the State as a whole cannot be a “program or

 activity.” Several courts have reached similar conclusions. See Jim C. v. United

 States, 235 F.3d 1079, 1081 (8th Cir. 2000) (holding that under Section 504’s

 definition, the State itself is not a program or activity and that only the department

 or agency which receives or distributes the aid is covered); Koslow v.

 Pennsylvania, 302 F.3d 161, 171 (3rd Cir. 2002) (holding that suits against the

 State as a whole are inappropriate as, pursuant to the statutory definitions in the

 Rehabilitation Act, the state, as a whole, cannot be a program or activity);

 Schroeder v. City of Chicago, 927 F.2d 957, 962 (7th Cir. 1991)(language of

 Section 504 is not intended to sweep in the whole state for purposes of liability).

       Moreover, as several of these same courts have noted, if the entire state

 government were subject to Section 504 liability whenever one of its

 subcomponents received federal funds, subsection 794(b)(1)(B) would be


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 redundant as both the distributing and receiving state entities would already be

 covered under subsection 794(b)(1)(A) whenever either receives federal funds.

 See Jim C., 235 F.3d at 1081 n. 3; Koslow, 302 F.3d at 171. Thus, basic rules of

 statutory construction also dictate that the State of Michigan is an inappropriate

 defendant. A court should avoid interpreting a statute so as to make portions of it

 superfluous. See e.g., United States v. Menasche, 348 U.S. 528, 538-39 (1955).

 For this reason alone, the Section 504 claim against the State must be dismissed.

       Regardless, Plaintiffs have not sufficiently pleaded the elements of their

 claim. Plaintiffs allege they “have been injured by being deprived of their rights

 under law” and unable to access or maneuver within buildings or access toilets or

 lavatories. (ECF No. 1, ¶ 27, PageID.8.) They assert that because of Defendants’

 “refusal to comply with the law makes it difficult or impossible for disabled

 persons to make a living when their jobs require Plaintiffs go into public buildings

 and facilities to conduct business. (Id., ¶ 28, PageID.8-9.) But Plaintiffs fail to

 identify sufficient facts that demonstrate Plaintiffs are “being excluded from

 participation in, denied benefits of, or being subjected to discrimination under the

 program solely due to a disability.” Landefeld, 994 F.2d at 1180-1181.

       Although Plaintiff Jacobson alleges that, as an attorney, she has lost work,

 business opportunities, and incurred monetary damages due to the lack of access

 that “interferes with her ability to do her job or do it effectively,” it is unclear


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 exactly from which service, program, or activity she was excluded. (ECF No.1,

 ¶ 30, PageID.9.) See, e.g., Babcock I, 812 F.3d at 532.

       The complaint discusses in general terms that “[e]ach Plaintiff has been

 denied barrier-free access to the buildings and facilities at issue and as required by

 Federal and State Laws.” (ECF No.1, ¶ 36, PageID.10; ¶¶ 73-74, PageID.24-25;

 ¶ 120, PageID.44.) Similarly, Plaintiffs generally allege the State received federal

 funding, “including Pandemic Relief funds and Build Back Better funds.” (Id.,

 ¶ 107, PageID.21.) But they fail to identify facts demonstrating that the programs,

 services, and activities which they were allegedly denied were receiving federal

 financial assistance from these two funds. See Landefeld, 994 F.2d at 1180–1181.

       Thus, merely referring to these two federal financial assistance programs is

 insufficient because no facts have been pleaded establishing that the program or

 activity from which they were denied access was receiving financial assistance

 from either of these two programs. Further, Plaintiffs fail to identify which

 service, activity, or program from which they were denied access or the State’s

 conduct that denied them access. Rather than allege sufficient facts to establish

 these elements, Plaintiffs allege entitlement to and “need of services and

 participation in the programs and activities provided by one or more of the

 Defendants in the buildings [identified within this complaint] . . . including . . . . to




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 physically attend in their own person.” (ECF No.1, ¶56, PageID.15) (emphasis

 added).

       But again, they fail to identify the particular programs, activities, or services

 from which they were excluded participation or denied the benefits. Because

 Plaintiffs have not identified any particular activity, program, or service they were

 denied access to or benefit from, and because they have not identified the State

 conduct that violated Section 504, the Plaintiffs fail to state a claim under the

 Rehabilitation Act.

           C.    Plaintiffs fail to state a plausible Federal Architectural
                 Barriers Act claim against the State.
       In Count I, Plaintiffs allege a violation of the Architectural Barriers Act of

 1968 (ABA). (ECF No. 1, ¶ 115, PageID.43.) The ABA was enacted to require

 that federal buildings, or buildings financed with federal money, are built so that

 they are accessible to the disabled. 42 U.S.C. §§ 4152-4153. Section 601 of the

 ABA provides that “the term ‘building’ means any building or facility . . . the

 intended use for which either will require that such building or facility be

 accessible to the public, or may result in the employment or residence therein of

 physically handicapped persons,” and which building or facility is “constructed or

 altered by or on behalf of the United States,” leased by the United States, is

 financed by a grant or loan made by the United States, or is constructed under the

 authority of specified federal transportation laws. 42 U.S.C. § 4151. The ABA is


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 limited to architectural standards in new and altered buildings and in newly leased

 facilities.

        Further, in order to pursue an ABA claim, a complaint must be filed with the

 Architectural and Transportation Barriers Compliance Board. 29 U.S.C. § 792(b).

 Plaintiffs do not appear to have filed such a complaint. Courts in this circuit and

 elsewhere have concluded that the ABA does not contain a private right of

 action—enforcement is purely administrative. See, Bright v. Eversole, 2018 WL

 11468754 at *2-3 (E.D. Tenn., Dec. 17, 2018) (“To the extent that Plaintiff seeks

 to assert a claim under the Architectural Barriers Act, 42 U.S.C. § 4151 et seq., this

 claim should be dismissed because there is no private right of action under this

 act.”); Burkett v. Booker, 2006 WL 2583371 at * 2 (E.D. Ky. Sept. 7, 2006)

 (declining to find private right of action under the ABA); Wood v. Smith, ___ F.

 Supp. 3d ___; 2018 U.S. Dist. LEXIS 56714, at *4 (E.D. Ark., Mar. 12, 2018)

 (“[the ABA] contains no waiver of sovereign immunity, nor does it provide for a

 private cause of action.”) (citing Jackson v. Fed. Bureau of Prisons, 2007 WL

 843839, at *20 (D. Minn. Mar. 16, 2007) (citing Crowder v. True, 1998 WL 42318

 at *2 (N.D. Ill., Jan. 29, 1998) (“There is no private right of action by handicapped

 individuals complaining of a violation of the ABA; enforcement is purely

 administrative”)).) Thus, the claim may be dismissed for this reason alone.




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       Nevertheless, it appears Plaintiffs’ complaint only alleges an ABA violation

 relative to the Coleman A. Young Municipal Center (CAYMC) building. (ECF

 No.1, ¶ 80, PageID.26-27.) Plaintiffs make a vague and conclusory allegation that

 CAYMC “has served multiple governmental purposes. . . .[including] Judicial

 function of various County Courts of the unified State of Michigan Court System.”

 (Id., ¶ 79, PageID.26.) Plaintiffs provide no authority for this assertion and do not

 sufficiently allege beyond conclusory allegations that the State has any liability

 relative to the CAYMC building.

       Further, while Plaintiffs allege all Defendants have received federal funding,

 they fail to allege that CAYMC was constructed or altered by the U.S. government,

 is being leased by the U.S. government, was financed by the U.S. government, or

 built pursuant to the specified federal transportation laws. Their assertion that all

 Defendants received Pandemic Relief funds and Build Back Better funds is

 insufficient to establish a claim under the ABA, as the ABA requires the U.S.

 government to have funded construction of the building—a provision of unrelated

 federal funding will not suffice. (ECF. No.1, ¶ 107, PageID.42.)

       For these reasons, Plaintiffs fail to state a claim for relief under the ABA and

 any claim must be dismissed as to the State.




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           D.        Plaintiffs fail to state plausible state statutory claims against
                     the State.
        In Count II, Plaintiffs allege violations of Michigan’s Barrier Free Design

 Act, “Uniform Construction Code”, Sidewalks – Persons With Disabilities Act,

 Persons With Disabilities Civil Rights Act, and the Elliott-Larsen Civil Rights Act.

 (ECF No. 1, ¶ 117, PageID.43.)

                1.      Barrier Free Design Act

        The Michigan Barrier Free Design Act, Mich. Comp. Laws §§ 125.1351 et

 seq., requires that, with certain exceptions, any “public facility” or “facility used

 by the public” must be constructed so as to permit access by physically limited

 persons. The requirements of the Act apply to all new construction of such

 facilities as well as to those existing facilities which undergo a “change in use

 group or occupancy load, or an alteration other than ordinary maintenance . . . .”

 Mich. Comp. Laws § 125.1352(1) and (2).

        But the Act does not provide a private cause of action. “Where the common

 law provides no right to relief, but the right to relief is created by statute, a plaintiff

 has no private cause of action to enforce the right unless (1) the statute expressly

 creates a private cause of action, or (2) a cause of action can be inferred from the

 fact that the statute provides no adequate means of enforcement of its provisions.”

 Lane v. KinderCare Learning Centers, Inc., 588 N.W.2d 715, 718 (Mich. App.

 1998).


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       Here, the Act does not expressly provide for a private cause of action, and it

 adequately provides for the enforcement of its provisions. The Act specifically

 states that administration and enforcement of the Act is vested in the Michigan

 Department of Management and Budget, the Michigan Department of Education,

 and the Michigan Department of Labor, depending on the type of building

 involved. Mich. Comp. Laws § 125.1353 (1)-(3). Thus, any claim against the

 State based on this Act must be dismissed.

              2.     Stille-Derossett-Hale Single State Construction Code Act
       Plaintiffs’ complaint refers to the “Michigan Uniform Construction Code”

 citing to Mich. Comp. Laws § 125.1502a. However, Mich. Comp. Laws

 §§ 125.1501, et seq., is known as the Stille-Derossett-Hale Single State

 Construction Code Act. Like Michigan’s Barrier Free Design Act, this Act does

 not provide for a private right of action.

       The Stille-Derossett-Hale Single State Construction Code establishes a state

 construction code commission. Mich. Comp. Laws § 125.1503a. The statute

 specifically provides that the director is responsible for administration and

 enforcement of the act and the code. Mich. Comp. Laws § 125.1508b(1). It also

 provides for a construction board of appeals in cases where an enforcing agency

 refuses to grant a building permit or other decision related to the act or the code,




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 and that decision is appealable to the commission. Mich. Comp. Laws

 § 125.1514(1), 125.1516(1). It does not provide a private cause of action.

       In Rakowski v. Sarb, 713 N.W.2d 787, 794 n 4 (Mich. 2006), the Michigan

 Supreme Court reviewed a case involving a city hiring the defendant (an inspector)

 to carry out the duties imposed by the Act. While assessing whether the Act could

 be used to establish a legal duty in negligence actions, it noted that nothing in the

 Act “gives rise to a civil duty to a private third party. Further the purpose of the

 construction code act is not to protect the public against harm by establishing

 construction standards and an inspection regime, but merely to establish the

 authority of the director of the. . . Department of Labor and Economic Growth . . .

 .” Id. As a result, Plaintiffs cannot maintain a claim under this Act and any claim

 must be dismissed.

              3.      Sidewalks: Persons With Disabilities Act
       Michigan’s Sidewalks: Persons With Disabilities Act provides that

 sidewalks constructed after April 12, 1973, “shall be constructed in a manner that

 will facilitate use by persons with physical disabilities.” Mich. Comp. Laws

 § 125.1361. It provides that at intersections between pedestrian and motorized

 lines of travel, there will be gradual slopes to provide an uninterrupted line of

 travel. Id. However, as with the other state claims alleged, there is no private

 cause of action under this Act. See, e.g., Lane, 588 N.W.2d at 718.



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       In Vansteenkiste v. Lakeside Mall, LLC, ___ F. Supp. 3d ___; 2014 U.S.

 Dist. LEXIS 82134, at *30 (E.D. Mich, June 17, 2014), the Court dismissed a

 claim under the Act noting that “Plaintiff has provided no law holding that a

 private party may bring a cause of action” under this statute. Id. at *30. This

 Court should dismiss this claim for the same reason.

              4.     Persons With Disabilities Civil Rights Act
       Plaintiffs’ complaint merely cites to Michigan’s Persons with Disabilities

 Civil Rights Act (PWDCRA) without providing any information regarding what

 provisions of the PWDCRA are implicated or what building issues are violative of

 the Act. (ECF No. 1, ¶¶ 5(f), 14(b)-(c), 90, 117, 119, PageID.3, 5, 32, 43-44.)

 Paragraph 90 of the complaint, which mentions the PWDCRA, alleges various

 CAYMC building issues—but the PWDCRA does not mandate or regulate any

 building criteria. Id.

       The PWDCRA provides a person shall not “[d]eny an individual the full and

 equal enjoyment of the goods, services, facilities, privileges, advantages, and

 accommodations of a place of public accommodation or public service because of

 a disability that is unrelated to the individual’s ability to utilize and benefit from

 the goods, services, facilities, privileges, advantages, or accommodations or

 because of the use by an individual of adaptive devices or aids.” Mich. Comp.

 Laws § 37.1302. Plaintiffs’ complaint is devoid of any allegations, other than



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 citing to the statute, as to how the State has denied Plaintiffs the full and equal

 enjoyment of a public service, which is insufficient to assert a claim. Twombly,

 550 U.S. at 555; Iqbal, 556 U.S. at 678.

              5.     Elliott-Larsen Civil Rights Act

       Similar to the PWDCRA, Plaintiffs’ complaint fails to assert a claim under

 the Elliott-Larsen Civil Rights Act (ELCRA). Plaintiffs again cite to the statute

 without providing any information regarding how the statute is implicated, which

 buildings are involved or the implication of the State. (ECF No. 1, ¶¶ 5(f), 117,

 119, PageID.3, 43-44.) Plaintiffs’ complaint is devoid of any allegations other

 than citing to the statute, which is insufficient to assert a claim. Twombly, 550

 U.S. at 555; Iqbal, 556 U.S. at 678.

       Further, the ELCRA does not provide protection based on disabilities. It

 provides a person shall not “[d]eny an individual the full and equal enjoyment of

 the goods, services, facilities, privileges, advantages, or accommodations of a place

 of public accommodation or public service because of religion, race, color,

 national origin, age, sex, or marital status.” Mich. Comp. Laws § 37.2302.

 Plaintiffs’ complaint contains no allegations of discrimination based on any of the

 protected categories contained with the ELCRA. Thus, Plaintiffs fail to state a

 claim under the ELCRA.




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           E.    Plaintiffs state law claims are barred by the Eleventh
                 Amendment.
       In addition to failing to state a claim under the state statutes discussed above,

 Plaintiffs claims against the State are barred by the Eleventh Amendment.

       The Eleventh Amendment to the U.S. Constitution provides that “the

 judicial power of the United States shall not be construed to extend to any suit in

 law or equity, commenced or prosecuted against one of the United States by

 citizens of another state, or by citizens or subjects of any foreign state.” U.S.

 Const., Amend. XI. Accordingly, in most instances, the Eleventh Amendment

 prevents a state from being sued in federal court without its consent. Indeed, the

 Supreme Court has consistently ruled that the Eleventh Amendment is a bar to

 lawsuits against states, state agencies or state departments unless specifically

 overridden by an act of Congress, or unless the state has consented to be sued.

 Alabama v. Pugh, 438 U.S. 781, 782 (1978); United States v. Georgia, 546 U.S.

 151, 159 (2006).

       Further, the Supreme Court has broadened the Eleventh Amendment’s

 application to suits by citizens against their own state and held that “the ultimate

 guarantee of the Eleventh Amendment is that nonconsenting states may not be

 sued by private individuals in federal court.” Bd. of Trustees of Univ. of Ala. v.

 Garrett, 531 U.S. 356, 360 (2001). “States’ constitutional immunity from suit

 prohibits all state-law claims filed against a State in federal court, whether those


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 claims are monetary or injunctive in nature.” Ernst v. Rising, 427 F.3d 351, 368

 (6th Cir. 2005). A state-law claim brought into a federal court under pendent

 jurisdiction is a claim against the state that is protected by the Eleventh

 Amendment. Pennhurst State School & Hospital v. Halderman, 465 U.S. 89, 121

 (1984). Neither “pendent jurisdiction nor any other basis of jurisdiction may

 override the Eleventh Amendment.” Id. at 121.

       Since the State has not waived its Eleventh Amendment immunity, Plaintiffs

 cannot maintain any causes of action in Counts II, III, and IV based on state law

 against the State in federal court. This Court should dismiss these claims.

           F.    Plaintiffs fail to state a claim for the imposition of punitive
                 damages against the State of Michigan.

       In Count IV of the complaint Plaintiffs request punitive damages. (ECF No.

 1, ¶¶ 122-13, PageID.44.) The complaint broadly states that “Defendants are liable

 for punitive damages under Federal and State laws, including the Rehabilitation

 Act of 1973, and MCL 37.1606.”

       But punitive damages are not provided for in suits brought under

 Section 202 of the ADA or Section 504 of the Rehabilitation Act. Barnes v.

 Gorman, 536 U.S. 181, 190 (2002). Further, the PWDCRA provision relative to

 damages contains no remedy of punitive damages. See Mich. Comp. Laws §

 37.1606. Count IV must therefore be dismissed.




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                  CONCLUSION AND RELIEF REQUESTED

       For the reasons discussed above, Defendant State of Michigan respectfully

 asks this Court to dismiss all claims against it under Fed. R. Civ. P. 12(b)(1) and

 12(b)(6).


                                               Respectfully submitted,

                                               s/ Cassandra Drysdale-Crown
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 Dated: March 14, 2023

                        LOCAL RULE CERTIFICATION

        I, Cassandra Drysdale-Crown, certify that this document complies with
 Local Rule 5.1(a), including: double-spaced (except for quoted materials and
 footnotes); at least one-inch margins on the top, sides, and bottom; consecutive
 page numbering; and type size of all text and footnotes that is no smaller than 10-
 1/2 characters per inch (for non-proportional fonts) or 14 point (for proportional
 fonts). I also certify that it is the appropriate length. Local Rule 7.1(d)(3).”

                                        s/Cassandra Drysdale-Crown
                                        Cassandra Drysdale-Crown (P64108)
                                        Assistant Attorney General




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                         CERTIFICATE OF SERVICE

        I hereby certify that on March 14, 2023, I electronically filed the above
 document(s) with the Clerk of the Court using the ECF System, which will provide
 electronic copies to counsel of record.

                                      s/Cassandra Drysdale-Crown
                                      Cassandra Drysdale-Crown (P64108)
                                      Assistant Attorney General




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